                                    Case 17-70408 Document 32 Filed in TXSB on 11/30/17 Page 1 of 17
 Fill in this information to identify your case and this filing:

  Debtor 1                  Gregorio                                                Trevino
                            First Name                   Middle Name                Last Name

  Debtor 2                  Maria                         Carmen                    Trevino
  (Spouse, if filing)       First Name                   Middle Name                Last Name

  United States Bankruptcy Court for the:                                          Southern District of Texas
                                                                                                                                                                                   ✔ Check if this is an
                                                                                                                                                                                   ❑
  Case number             17-70408                                                                                                                                                    amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                            12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
      ❑ No. Go to Part 2.
      ✔ Yes. Where is the property?
      ❑
      1.1     Sunchase Acres Lot 3 105 E Moore Rd                             What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
              San Juan, TX 78589-2644 Hidalgo                                ✔ Single-family home
                                                                             ❑                                                                             amount of any secured claims on Schedule D:
                                                                             ❑ Duplex or multi-unit building
              County Texas
                                                                                                                                                           Creditors Who Have Claims Secured by Property.
              Street address, if available, or other
              description                                                    ❑ Condominium or cooperative                                                Current value of the             Current value of the
                                                                             ❑ Manufactured or mobile home                                               entire property?                 portion you own?
              105 E. Moore Rd                                                ❑ Land                                                                                  $463,972.00                     $463,972.00
                                                                             ❑ Investment property
              San Juan, TX 78589                                             ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                                                                                                         as fee simple, tenancy by the entireties, or a life
                                                                             ❑ Other
              City                               State        ZIP Code
                                                                                                                                                         estate), if known.
               Hidalgo                                                        Who has an interest in the property? Check one.
                                                                                                                                                           Fee Simple
              County                                                         ❑ Debtor 1 only
                                                                             ❑ Debtor 2 only
                                                                             ✔ Debtor 1 and Debtor 2 only
                                                                             ❑                                                                            ✔ Check if this is community property
                                                                                                                                                          ❑
                                                                             ❑ At least one of the debtors and another
                                                                                                                                                              (see instructions)

 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.........................................................................................................                      ➜               $463,972.00




Official Form 106A/B                                                                                    Schedule A/B: Property                                                                           page 1
 Debtor 1                           Case   17-70408 Document 32Trevino
                                     Gregorio                     Filed in TXSB on 11/30/17 Case
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                                                                                                 number       17
 Debtor 2                              Maria                         Carmen                           Trevino                                                          17-70408
                                       First Name                    Middle Name                       Last Name




 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
       ❑ No
       ✔ Yes
       ❑
       3.1 Make:                                   Cadillac                  Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                   Escalade                  ❑ Debtor 1 only                                                                 amount of any secured claims on Schedule D:
            Model:
                                                                             ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                   2003                      ✔ Debtor 1 and Debtor 2 only
                                                                             ❑                                                                             Current value of the        Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                   275000                                                                                                  entire property?            portion you own?
            Approximate mileage:                                                                                                                                         $2,500.00                  $2,500.00
            Other information:
                                                                             ✔ Check if this is community property (see
                                                                             ❑
                                                                                 instructions)
             2003 Cadillac Escalade-Debtor




      If you own or have more than one, list here:

       3.2 Make:                                   Chevrolet                 Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                   Pickup                    ❑ Debtor 1 only                                                                 amount of any secured claims on Schedule D:
            Model:
                                                                             ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                   2004                      ✔ Debtor 1 and Debtor 2 only
                                                                             ❑                                                                             Current value of the        Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                   160000                                                                                                  entire property?            portion you own?
            Approximate mileage:                                                                                                                                         $2,500.00                  $2,500.00
            Other information:
                                                                             ✔ Check if this is community property (see
                                                                             ❑
                                                                                 instructions)
             2004 Chevy Pickup-parked not working




 4.     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
        Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
        ✔ No
        ❑
        ❑ Yes
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here.........................................................................................................                 ➜              $5,000.00




 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                                                                    Current value of the
                                                                                                                                                                                       portion you own?
                                                                                                                                                                                       Do not deduct secured
                                                                                                                                                                                       claims or exemptions.




Official Form 106A/B                                                                                     Schedule A/B: Property                                                                     page 2
 Debtor 1                      Case   17-70408 Document 32Trevino
                                Gregorio                     Filed in TXSB on 11/30/17 Case
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                                                                                            number       17
 Debtor 2                        Maria                  Carmen                  Trevino                                       17-70408
                                 First Name             Middle Name             Last Name



 6.    Household goods and furnishings
       Examples:    Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe........
       ❑
                                         Sofa, Love Seat, Recliner, 42"in Color Tv, Entertainment Center, Coffee Table, Dvd Player, 6 Picture
                                         Frames, Refrigerator, Stove, Microwave Oven, Oven, Dishwasher, Pots, Pans, Dishes, Glassware,              $7,500.00
                                         Flatware, Small Appliances, 2 Dinning Table, 15 Chairs, China Cabinet, Sofa, Love Seat, Coffee Table, 2
                                         End Tables, Table 4 Queen Beds, 4 Dressers, 4 Color Tvs, 4 Lamps, 2 Dvd Players Outdoor Table,
                                         Picnic Table, Washer, Dryer, Lawn Mower, Lawn Tractor, Weedeater, Chainsaw Garden Tools, Towels,
                                         Toilette Articles, Freezer


 7. Electronics
       Examples:    Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                    electronic devices including cell phones, cameras, media players, games
       ✔ No
       ❑
       ❑ Yes. Describe........

 8.    Collectibles of value
       Examples:    Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                    stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
       ✔ No
       ❑
       ❑ Yes. Describe........

 9. Equipment for sports and hobbies
       Examples:    Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks;
                    carpentry tools; musical instruments
       ✔ No
       ❑
       ❑ Yes. Describe........

 10.    Firearms
        Examples:    Pistols, rifles, shotguns, ammunition, and related equipment
        ✔ No
        ❑
        ❑ Yes. Describe........

 11.    Clothes
        Examples:    Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        ✔ No
        ❑
        ❑ Yes. Describe........

 12.    Jewelry
        Examples:    Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        ✔ No
        ❑
        ❑ Yes. Describe........


 13.    Non-farm animals
        Examples:    Dogs, cats, birds, horses

        ❑ No
        ✔ Yes. Describe........
        ❑
                                         2 Dogs, Cat                                                                                               unknown




Official Form 106A/B                                                              Schedule A/B: Property                                           page 3
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                                        Gregorio                     Filed in TXSB on 11/30/17 Case
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                                                                                                    number       17
 Debtor 2                                  Maria                              Carmen                                Trevino                                                            17-70408
                                          First Name                          Middle Name                            Last Name



 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Describe........

 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here........................................................................................................................................➜                            $7,500.00




 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                     Current value of the
                                                                                                                                                                                                  portion you own?
                                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                                  claims or exemptions.


 16.   Cash
       Examples:           Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       ✔ No
       ❑
       ❑ Yes.............................................................................................................................................................   Cash..............


 17.   Deposits of money
       Examples:           Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                           similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes..................
       ❑
                                                                                                         Institution name:



                                                17.1. Checking account:                                   Bank of America - Business Operating Account Account:                                                $2,376.33
                                                                                                          xxx9602

                                                17.2. Checking account:                                   Rio Bank - Personal Account xxx6504                                                                   $308.00


                                                17.3. Savings account:


                                                17.4. Savings account:


                                                17.5. Certificates of deposit:


                                                17.6. Other financial account:


                                                17.7. Other financial account:


                                                17.8. Other financial account:


                                                17.9. Other financial account:




Official Form 106A/B                                                                                                    Schedule A/B: Property                                                                page 4
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                                     Gregorio                     Filed in TXSB on 11/30/17 Case
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 Debtor 2                             Maria                Carmen                Trevino                                        17-70408
                                      First Name           Middle Name           Last Name



 18.   Bonds, mutual funds, or publicly traded stocks
       Examples:        Bond funds, investment accounts with brokerage firms, money market accounts
       ✔ No
       ❑
       ❑ Yes..................
 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 21.   Retirement or pension accounts
       Examples:        Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       ✔ No
       ❑
       ❑ Yes. List each account
            separately.
 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
       others
       ✔ No
       ❑
       ❑ Yes.....................
 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ❑ No
       ✔ Yes.....................
       ❑
                                         Issuer name and description:

                                         Fidelity Account - only for college |                                                               $5,703.66


 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       ✔ No
       ❑
       ❑ Yes.....................
 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
       benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....




Official Form 106A/B                                                               Schedule A/B: Property                                    page 5
 Debtor 1                    Case   17-70408 Document 32Trevino
                              Gregorio                     Filed in TXSB on 11/30/17 Case
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                                                                                          number       17
 Debtor 2                       Maria                    Carmen               Trevino                                          17-70408
                                First Name               Middle Name           Last Name



 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples:     Internet domain names, websites, proceeds from royalties and licensing agreements
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 27.   Licenses, franchises, and other general intangibles
       Examples:     Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                     professional licenses
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes.    Give specific information about                                                                            Federal:
                 them, including whether you
                 already filed the returns and the                                                                          State:
                 tax years.......................
                                                                                                                            Local:



 29.   Family support
       Examples:     Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

       ✔ No
       ❑
       ❑ Yes.    Give specific information..........
                                                                                                                            Alimony:

                                                                                                                            Maintenance:

                                                                                                                            Support:

                                                                                                                            Divorce settlement:

                                                                                                                            Property settlement:


 30.   Other amounts someone owes you
       Examples:     Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social
                     Security benefits; unpaid loans you made to someone else
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




 31.   Interests in insurance policies
       Examples:     Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ❑ No
       ✔ Yes.
       ❑         Name the insurance company
                 of each policy and list its value....

                                                           Company name:                                Beneficiary:                               Surrender or refund value:


                                                           Protective Term Life insurance (face                                                                       $0.00
                                                           value $500,000.00) no cash value




Official Form 106A/B                                                             Schedule A/B: Property                                                          page 6
 Debtor 1                           Case   17-70408 Document 32Trevino
                                     Gregorio                     Filed in TXSB on 11/30/17 Case
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 Debtor 2                              Maria                         Carmen                            Trevino                                                           17-70408
                                      First Name                      Middle Name                       Last Name



 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
       because someone has died.
       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples:         Accidents, employment disputes, insurance claims, or rights to sue
       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here..................................................................................................................................➜        $30,872.01



 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?
       ❑No. Go to Part 6.
       ✔Yes. Go to line 38.
       ❑
 38.   Accounts receivable or commissions you already earned

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                Pending fees from City of San Juan
                                                                                                                                                                                     $4,500.00

 39.   Office equipment, furnishings, and supplies
       Examples:         Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                Desks, chairs, tables, shelves, computers, printers, copier
                                                                                                                                                                                     $4,500.00


 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe........



Official Form 106A/B                                                                                       Schedule A/B: Property                                                   page 7
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                                     Gregorio                     Filed in TXSB on 11/30/17 Case
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                                                                                                 number       17
 Debtor 2                               Maria                        Carmen                            Trevino                                                           17-70408
                                        First Name                    Middle Name                       Last Name



 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe........

 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe........
 43.   Customer lists, mailing lists, or other compilations
       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
               ❑ No
               ❑ Yes. Describe........

 44.   Any business-related property you did not already list

       ❑ No
       ✔ Yes. Give specific
       ❑
            information.........


                                            Possible/projected income from existing/current personal injury cases.                                                                  $30,000.00


                                            Debtor's 40% interest in the possible attorney fees recovered if plaintiff is successful in                                             unknown
                                            wrongful death case: Cause No. 15-CV-00724; Juan Pruneda and Maria Ana Pruneda,
                                            Individually and as Representatives of the Estate of Matias Uriel Pruneda, Decedent vs.
                                            Honghua International Co., LTD., Chuanyou Guanghan Honghua Co., Ltd., and Sichuan
                                            Honghua Petroleum Equipment Co., Ltd., Nabors Industries, Ltd., Nabors Drilling
                                            International Limited, and Nabors Drilling International, II, Limited; In the United States
                                            District Court for the Western District of Texas (San Antonio Division).



                                            Debtor's 40% interest in possible attorney's fees recovered if plaintiff is successful in the                                           unknown
                                            following personal injury case: Rogelio Rodriguez vs. Nicolas Golarte D/B/A/ Global Satellites
                                            and Nicolas Golarte D/B/A Talk N Talk Wireless & Satellites, Cause No. C-3434-14-H; In the
                                            389th Judicial District Court for Hidalgo County, Texas.


 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here.................................................................................................................................➜         $39,000.00



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       ✔No. Go to Part 7.
       ❑
       ❑Yes. Go to line 47.
 47.   Farm animals
       Examples:         Livestock, poultry, farm-raised fish
       ❑ No
       ❑ Yes.........................




Official Form 106A/B                                                                                       Schedule A/B: Property                                                   page 8
 Debtor 1                            Case   17-70408 Document 32Trevino
                                      Gregorio                     Filed in TXSB on 11/30/17 Case
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 Debtor 2                               Maria                           Carmen                              Trevino                                                              17-70408
                                        First Name                       Middle Name                         Last Name



 48.   Crops—either growing or harvested

       ❑ No
       ❑ Yes. Give specific
            information.............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ❑ No
       ❑ Yes..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ❑ No
       ❑ Yes..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ❑ No
       ❑ Yes. Give specific
            information.............



 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here...................................................................................................................................➜



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


 53.   Do you have other property of any kind you did not already list?
       Examples:          Season tickets, country club membership
       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                                     $0.00



 Part 8: List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2..........................................................................................................................................➜         $463,972.00


 56.   Part 2: Total vehicles, line 5                                                                                          $5,000.00


 57.   Part 3: Total personal and household items, line 15                                                                     $7,500.00


 58.   Part 4: Total financial assets, line 36                                                                               $30,872.01


 59.   Part 5: Total business-related property, line 45                                                                      $39,000.00


 60.   Part 6: Total farm- and fishing-related property, line 52                                                                     $0.00


Official Form 106A/B                                                                                            Schedule A/B: Property                                                       page 9
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                                  Gregorio                    Filed in TXSB on 11/30/17 Case
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                                                                                             number       17
                                                                                                       known)
 Debtor 2                            Maria                        Carmen                          Trevino                                                       17-70408
                                    First Name                    Middle Name                      Last Name



 61.   Part 7: Total other property not listed, line 54                                      +                          $0.00


 62.   Total personal property. Add lines 56 through 61..............                                            $82,372.01           Copy personal property total➜        +   $82,372.01




 63.   Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................             $546,344.01




Official Form 106A/B                                                                                 Schedule A/B: Property                                                       page 10
                          Case 17-70408 Document 32 Filed in TXSB on 11/30/17 Page 11 of 17
 Debtor 1                  Gregorio                                  Trevino                      Case number (if known)
 Debtor 2                  Maria                Carmen               Trevino                      17-70408
                           First Name           Middle Name          Last Name



                                                      SCHEDULE A/B: PROPERTY
                                                                 Continuation Page

 17. Deposits of money
      Checking account:                 Chase checking personal acct xxxxx2962                                                 $0.00
      Checking account:                 Chase IOLTA checking acct 2639                                                     $22,484.02




Official Form 106A/B                                                     Schedule A/B: Property
                                 Case 17-70408 Document 32 Filed in TXSB on 11/30/17 Page 12 of 17
 Fill in this information to identify your case:

  Debtor 1               Gregorio                                  Trevino
                         First Name            Middle Name         Last Name

  Debtor 2               Maria                 Carmen              Trevino
  (Spouse, if filing)    First Name            Middle Name         Last Name

  United States Bankruptcy Court for the:                         Southern District of Texas

  Case number           17-70408                                                                                                          ✔ Check if this is an
                                                                                                                                          ❑
  (if known)                                                                                                                                 amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                            04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and
attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar amount as
exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit. Some
exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you
claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the property is determined to
exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt


 1.    Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
       ❑
       ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

      Brief description of the property and line on        Current value of the         Amount of the exemption you claim          Specific laws that allow exemption
      Schedule A/B that lists this property                portion you own
                                                           Copy the value from          Check only one box for each exemption.
                                                           Schedule A/B

                                                                                     ✔
                           Sunchase Acres Lot 3
                           105 E Moore Rd San                    $463,972.00         ❑                  $250,953.00                Const. art. 16 §§ 50, 51, Texas Prop.
                           Juan, TX 78589-2644                                       ❑      100% of fair market value, up to any   Code §§ 41.001-.002
                           Hidalgo County Texas                                             applicable statutory limit
      Brief                105 E. Moore Rd San
      description:         Juan, TX 78589

      Line from
      Schedule A/B:        1.1


                                                                                     ✔
                           2003 Cadillac Escalade
      Brief                2003 Cadillac Escalade-                 $2,500.00         ❑                   $2,500.00                 Tex. Prop. Code §§ 42.001(a),
      description:         Debtor                                                    ❑      100% of fair market value, up to any   42.002(a)(9)
                                                                                            applicable statutory limit
      Line from
      Schedule A/B:        3.1

 3. Are you claiming a homestead exemption of more than $160,375?
       (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
       ✔ No
       ❑
       ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
          ❑ No
          ❑ Yes




Official Form 106C                                                Schedule C: The Property You Claim as Exempt                                                      page 1 of 1
 Debtor 1                  Case  17-70408 Document 32Trevino
                            Gregorio                    Filed in TXSB on 11/30/17 Case
                                                                                   Page    13(if of
                                                                                       number       17
                                                                                                 known)
 Debtor 2                   Maria                   Carmen                Trevino                                               17-70408
                            First Name              Middle Name              Last Name


 Part 2: Additional Page
     Brief description of the property and line on      Current value of the      Amount of the exemption you claim                   Specific laws that allow exemption
     Schedule A/B that lists this property              portion you own
                                                       Copy the value from        Check only one box for each exemption.
                                                       Schedule A/B

                                                                                ✔
                      2004 Chevrolet Pickup
    Brief             2004 Chevy Pickup-parked                $2,500.00         ❑                    $2,500.00                       Tex. Prop. Code §§ 42.001(a),
    description:      not working                                               ❑        100% of fair market value, up to any        42.002(a)(9)
                                                                                         applicable statutory limit
    Line from
    Schedule A/B:     3.2



                                                                                ✔
                      Sofa, Love Seat, Recliner,
                      42"in Color Tv,                         $7,500.00         ❑                    $7,500.00                       Tex. Prop. Code §§ 42.001(a),
                      Entertainment Center,                                     ❑        100% of fair market value, up to any        42.002(a)(1)
                      Coffee Table, Dvd Player,                                          applicable statutory limit
                      6 Picture Frames,
                      Refrigerator, Stove,
                      Microwave Oven, Oven,
                      Dishwasher, Pots, Pans,
                      Dishes, Glassware,
                      Flatware, Small
                      Appliances, 2 Dinning
                      Table, 15 Chairs, China
                      Cabinet, Sofa, Love Seat,
                      Coffee Table, 2 End
                      Tables, Table 4 Queen
                      Beds, 4 Dressers, 4
                      Color Tvs, 4 Lamps, 2
                      Dvd Players Outdoor
                      Table, Picnic Table,
                      Washer, Dryer, Lawn
                      Mower, Lawn Tractor,
                      Weedeater, Chainsaw
    Brief             Garden Tools, Towels,
    description:      Toilette Articles, Freezer

    Line from
    Schedule A/B:     6




                                                                                ✔
    Brief             Fidelity Account - only for
    description:      college                                 $5,703.66         ❑                    $5,703.66                       Tex. Prop. Code § 42.0022

    Line from
                                                                                ❑        100% of fair market value, up to any
                                                                                         applicable statutory limit
    Schedule A/B:     23




                                                                                ✔
    Brief             Pending fees from City of
    description:      San Juan                                $4,500.00         ❑                    $4,500.00                       Tex. Prop. Code § 42.001(d)

    Line from
                                                                                ❑        100% of fair market value, up to any
                                                                                         applicable statutory limit
    Schedule A/B:     38




                                                                                ✔
                      Desks, chairs, tables,
    Brief             shelves, computers,                     $4,500.00         ❑                    $4,500.00                       Tex. Prop. Code §§ 42.001(a),
    description:      printers, copier                                          ❑        100% of fair market value, up to any        42.002(a)(4)
                                                                                         applicable statutory limit
    Line from
    Schedule A/B:     39




Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                                        Additional Page
 Debtor 1                  Case  17-70408 Document 32Trevino
                            Gregorio                    Filed in TXSB on 11/30/17 Case
                                                                                   Page    14(if of
                                                                                       number       17
                                                                                                 known)
 Debtor 2                   Maria                   Carmen                  Trevino                                             17-70408
                            First Name              Middle Name              Last Name


 Part 2: Additional Page
     Brief description of the property and line on      Current value of the      Amount of the exemption you claim                   Specific laws that allow exemption
     Schedule A/B that lists this property              portion you own
                                                       Copy the value from        Check only one box for each exemption.
                                                       Schedule A/B

                                                                                ✔
                      Debtor's 40% interest in
                      the possible attorney fees                  unknown       ❑                     unknown                        Tex. Prop. Code § 42.001(b)(1)
                      recovered if plaintiff is                                 ❑        100% of fair market value, up to any
                      successful in wrongful                                             applicable statutory limit
                      death case: Cause No.
                      15-CV-00724; Juan
                      Pruneda and Maria Ana
                      Pruneda, Individually and
                      as Representatives of the
                      Estate of Matias Uriel
                      Pruneda, Decedent vs.
                      Honghua International
                      Co., LTD., Chuanyou
                      Guanghan Honghua Co.,
                      Ltd., and Sichuan
                      Honghua Petroleum
                      Equipment Co., Ltd.,
                      Nabors Industries, Ltd.,
                      Nabors Drilling
                      International Limited, and
                      Nabors Drilling
                      International, II, Limited;
                      In the United States
                      District Court for the
    Brief             Western District of Texas
    description:      (San Antonio Division).

    Line from
    Schedule A/B:     44




                                                                                ✔
                      Debtor's 40% interest in
                      possible attorney's fees                    unknown       ❑                     unknown                        Tex. Prop. Code § 42.001(b)(1)
                      recovered if plaintiff is                                 ❑        100% of fair market value, up to any
                      successful in the                                                  applicable statutory limit
                      following personal injury
                      case: Rogelio Rodriguez
                      vs. Nicolas Golarte
                      D/B/A/ Global Satellites
                      and Nicolas Golarte
                      D/B/A Talk N Talk
                      Wireless & Satellites,
                      Cause No. C-3434-14-H;
                      In the 389th Judicial
    Brief             District Court for Hidalgo
    description:      County, Texas.

    Line from
    Schedule A/B:     44




Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                                      Additional Page
                             Case 17-70408 Document 32 Filed in TXSB on 11/30/17 Page 15 of 17
 Fill in this information to identify your case:

  Debtor 1               Gregorio                             Trevino
                         First Name            Middle Name    Last Name

  Debtor 2               Maria                 Carmen         Trevino
  (Spouse, if filing)    First Name            Middle Name    Last Name

  United States Bankruptcy Court for the:                    Southern District of Texas

  Case number           17-70408                                                                                                     ✔ Check if this is an
                                                                                                                                     ❑
  (if known)                                                                                                                            amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                              12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑Yes. Name of person                                                            . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
                                                                                     (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaraion and that they are true and correct.




   ✘ /s/ Gregorio Trevino                                               ✘ /s/ Maria Carmen Trevino
        Gregorio Trevino, Debtor 1                                         Maria Carmen Trevino, Debtor 2


        Date 11/29/2017                                                    Date 11/29/2017
                MM/ DD/ YYYY                                                     MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
           Case 17-70408 Document 32 Filed in TXSB on 11/30/17 Page 16 of 17
                            United States Bankruptcy Court
                              Southern District of Texas

In re Gregorio Trevino and Maria Carmen Trevino                                                   Case No. 17-70408
                                       Debtor(s)                                                  Chapter. 11


                                                     CERTIFICATE OF MAILING
The undersigned hereby certifies that a true copy of the following document(s):

Amended Schedules A/B,C

was(were) mailed to all persons in interest at the addresses set forth in the exhibit which is attached hereto, electronically or by first class mail,
postage prepaid, on 11/29/2017.



11/29/2017                                                                                /s/ Marcos D Oliva
                                                                                         Marcos D Oliva
                                                                                         Bar Number: 24056068
                                                                                         223 W Nolana Ave
                                                                                         Mcallen, TX 78504-2500
                                                                                         Phone: 9566837800
                                                                                         Email: marcos@oliva.law



  Affirm Inc                                      Afni                                               Cavalry Portfolio Services
  633 Folsom St Fl 7                              1310 Martin Luther King Dr                         ATTN: Bankruptcy Department 500
  San Francisco, CA 94107                         Bloomington, IL 61701                              Summit Lake Ste 400
                                                                                                     Valhalla, NY 10595




  Chamberlain-Hrdlicka                            Comenity Bank/Avenue                               Comenity Bank/ctpr&bks
  112 E. Pecan Street 1450                        PO Box 182125                                      PO Box 182125
  San Antonio, TX 78205                           Columbus, OH 43218                                 Columbus, OH 43218




  Comenity Capital Bank/HSN                       Comenitybank/venus                                 Comenitybank/woman W
  PO Box 182125                                   Comenity Bank                                      4590 E Broad St
  Columbus, OH 43218                              PO Box 182125                                      Columbus, OH 43213
                                                  Columbus, OH 43218




  Compass Bank                                    Credit One Bank Na                                 Dept Of Ed/Navient
  Attn: Bankruptcy                                PO Box 98873                                       Attn: Claims Dept
  PO Box 10566                                    Las Vegas, NV 89193                                P.O. Box 9635
  Birmingham, AL 35296                                                                               Wilkes-Barr, PA 18773-9635




  Deville Mgmt                                    Dynamic Recovery Solution                          Emergency Savings Fund
  1132 Glade Road                                 135 Interstate Blvd Suite 6
  Colleyville, TX 76034                           Greenville, SC 29615




  First Premier Bank                              First Premier Bank                                 Focus Receivables Mana
  601 N. Minnesota Ave                            601 S Minnesota Ave                                1130 Northchase Parkway Suite 150
  Sioux Falls, SD 57104                           Sioux Falls, SD 57104                              Marietta, GA 30067
       Case 17-70408 Document 32 Filed in TXSB on 11/30/17 Page 17 of 17
Internal Revenue Service       Internal Revenue Service           Mabt - Genesis Retail
300 E. 8th St. STOP 5026 AUS   Centralized Insolvency Operation   Po Box 4499
Austin, TX 78701               P O Box 7346                       Beaverton, OR 97076
                               Philadelphia, PA 19101




Marcos D. Oliva, PC            Maria Carmen Trevino               Midland Funding
Marcos D. Oliva                105 E. Moore Rd                    Attn: Bankruptcy
223 W Nolana Ave               San Juan, TX 78589                 PO Box 939069
Mcallen, TX 78504-2500                                            San Diego, CA 92193




Ocwen Loan Sevicing Llc        Portfolio Recovery                 Rcvl Per Mng
Attn: Research Dept            PO box 41067                       Attn:Collections/Bankruptcy
1661 Worthington Rd Ste 100    Norfolk, VA 23541-1067             PO Box 1548
West Palm Beach, FL 33409                                         Lynnwood, WA 98036




Synchrony Bank/Amazon          Synchrony Bank/QVC                 Texas Comptroller of Public Accounts
Attn: Bankruptcy               GE Credit Retail Bank/Attn:        P.O. Box 13528
PO Box 103104                  Bankruptcy                         Austin,, TX 78711-3528
Roswell, GA 30076              PO Box 103104
                               Roswell, GA 30076


Texas Workforce Commission
PO Box 1298
McAllen, TX 78505
